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VS- No. 04-20389-\\/\1 /®P/ () M`)'f OGQQL
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cYNTHi/-\ L`. MccAsTER, m mmr-5 rn'

. ' U.S. DISTBICT JUD‘?§§E

 

 

 

    
 

 

Defendant. _ emml ]O ?OOS
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REouEsT To LEAvE JuRi§ljfé`rloN / w
§ :~.1
Comes now the Defendant, Cynthia L. lV|cCaster, by and through her § §
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. 5 0
attorney, l-|andel R. Durham, Jr., and respectfully requests that she be allowed to 3 §
leave the jurisdiction to attend a family reunion in Grenada, |Vlississippi, l\/lay 13, § §
14, and 15, 2005.Defendant will return Nlay15, 2005. § §
VVHEREFORE, Defendant respectfully requests permission to leave the §§ §
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jurisdiction for the above explained purposes &\It§
Respectfu|ly submitted, ~{~§“
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IO,!/Ul ha/W\ _/€<> l§"
lEnde| R. Durharn, Jr. °

Attorney for Defendant

100 N. lV|ain B|dg., Suite 2601
|\/|emphis1 Tennessee 38103
Te|. No. (901) 543-0866

Certification
|, hereby, certify that a copy of the foregoing l\flotion was duly fonNarded
t)y ordinary U.S. |Vlail to Tirnothy R. Discenzal Assistant U.S. Attorney, 167 N.
Nlain, Suite 800 |Vlemphis, Tennessee 38103 and to Patrick J. Han|ey, U.S.
Probation Office, 167 N. Nlaln, Suite 234, l\/lernphis, Tennessee 38103, this 9"‘

day Of MGV» 2005 ;/(J,¢,L 1/2 Qi\ {Q)

Ktt`orney for Defendant

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UNITED sTATE DRISTIC COUR - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20389 Was distributed by faX, mail, or direct printing on
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Honorable .1 on McCalla
US DISTRICT COURT

